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Attorneys for Defendants Bayer CropScience
LP and Bayer CropScience Inc.

                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 B & H FARMING; TYCHE AG. LLC; CERES
 AG. LLC, and CEDAR DRAW, LLC, on behalf
 of themselves and all others similarly situated,

                                                           Case No. 4:21-CV-00121-REB
                        Plaintiffs,

 v.
                                                           JOINT MOTION REGARDING
 SYNGENTA CORPORATION, BAYER                               TEMPORARY STAY
 CROPSCIENCE, INC., BAYER
 CROPSCIENCE LP, CORTEVA INC., BASF
 CORPORATION, CARGILL
 INCORPORATED, , WINFIELD SOLUTIONS,
 LLC, UNIVAR SOLUTIONS, INC., CHS INC.,
 NUTRIEN AG SOLUTIONS INC.,
 GROWMARK, INC., SIMPLOT AB RETAIL
 SUB, INC., TENKOZ INC., and FEDERATED
 CO-OPERATIVES LTD.,

                        Defendants.


       Plaintiffs and Defendants Bayer Cropscience Inc. and Bayer Cropscience LP (collectively

the “Bayer Defendants”), after consultation with all other Defendants in this action (collectively,

the “Parties”), who report that they support the relief sought, jointly request that the Court extend

any current deadlines as set forth below:
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        1.       Plaintiff filed this action on March 15, 2021. All Defendants, with the exception

of Federated Co-operatives Ltd., have been served (Federated Co-operatives Ltd. executed a

Waiver of Service [Dkt. 20]). With the exception of Federated Co-operatives Ltd., Defendants’

deadlines to answer or otherwise respond to the Complaint range from April 12 to April 15.

        2.       From January 8, 2021 to the present, 21 substantially similar putative class action

cases alleging antitrust violations by the defendants in the market for crop inputs have been filed,

in this Court, the United States District Court for the Southern District of Illinois, the United States

District Court for the District of Minnesota, the United States District Court for the Eastern District

of Pennsylvania, and the United States District Court for the District of Kansas (the “Related

Actions”).1

        3.       On February 24, 2021, certain plaintiffs in the Related Actions filed a Motion for

Transfer of Actions Pursuant to 28 U.S.C. § 1407 (the “MDL Motion”) before the Judicial Panel

on Multidistrict Litigation (“JPML”), seeking to transfer the Related Actions and any subsequently



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  As of the date of this filing, the Related Actions include: Piper v. Bayer, et al., 3:21-cv-00021 (S.D. Ill.),
Swanson v. Bayer, et al., 3:21-cv-00046 (S.D. Ill.) (filed January 13, 2021), Lex v. Bayer, et al., 3:21-cv-
0122 (S.D. Ill.) (filed February 2, 2021), Handwerk v. Bayer, et al., 0:21-cv-00351 (D. Minn.) (filed
February 5, 2021), Duncan v. Bayer, et al., 3:21-cv-00158 (S.D. Ill.) (filed February 11, 2021); Flaten v.
Bayer, et al., 0:21-cv-00404 (D. Minn.) (filed February 11, 2021); Jones Planting Co. III v. Bayer, et al.,
3:21-cv-00173 (S.D. Ill.) (filed February 12, 2021), Canjar v. Bayer et al., 21-cv-00181 (S.D. Ill.) (filed
Feb. 16, 2021), Ryan Bros., Inc. v. Bayer, et al., 0:21-cv-00433 (D. Minn.) (filed February 17, 2021), Pfaff
v. Bayer et al., 0:21-cv-00462 (D. Minn.) (filed February 19, 2021), Budde v. Bayer, et al., 2:21-cv-02095
(D. Kan.) (filed February 19, 2021), Vienna Eqho Farms v. Bayer, et al., 3:21-cv-00204 (S.D. Ill.) (filed
February 22, 2021), Carlson v. Bayer, et al., 0:21-cv-00475 (D. Minn.) (filed February 22, 2021), Eagle
Lake Farms v. Bayer, et al., 0:21-cv-00543 (D. Minn.) (filed February 24, 2021), Tom Burke Farms v.
Bayer, et al., 2:21-cv-01049 (E.D. Pa.) (filed March 4, 2021), Dekrey v. Bayer, et al., 0:21-cv-00639 (D.
Minn.) (filed March 5, 2021); Schultz v. Bayer, et al., 0:21-cv-00681 (D. Minn.) (filed March 10, 2021);
Hapka Farms, Inc. et al. v. Bayer, et al., 0:21-cv-00685 (D. Minn.) (filed March 11, 2021); Beeman Berry
Farm, LLC v. Bayer, et al., 0:21-cv-719 (D. Minn.) (filed March 17, 2021); and Little Omega v. Bayer, et
al., 3:21-cv-00297 (S.D. Ill.) (filed March 16, 2021).


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filed actions premised on the same alleged facts to the Southern District of Illinois for consolidated

or coordinated pre-trial proceedings.2 The MDL Motion is now fully briefed and awaits argument

before, and decision by, the JPML.

          4.       All parties have agreed that this case and the Related Cases should be consolidated

for pretrial purposes in a single district. Plaintiffs in the actions in the Southern District of Illinois

have proposed that the cases be consolidated in the Southern District of Illinois. All other plaintiffs

for the remaining Related Actions pending have proposed that the Related Actions be transferred

to the District of Minnesota. Defendants have proposed that the cases be transferred either to the

Eastern District of Missouri or to the District of Minnesota.

          5.       The parties anticipate that the Related Actions will ultimately be consolidated and

coordinated, in the interest of justice, efficiency, and conservation of judicial resources.

          6.       Defendants Bayer Cropscience LLP and Bayer Cropscience, Inc. have filed

motions under 28 U.S.C. § 1404(a) in most of the Related Actions, including this action [ECF 21]

seeking to transfer the Related Actions to the Eastern District of Missouri (the “Bayer Transfer

Motions”).

          7.       In light of the above, the Parties expect that many or all of the Related Actions will

be transferred out of the districts in which they are currently pending and consolidated for pretrial

purposes.

          8.       The parties have conferred and agree that in light of the above, it would not be

efficient at this stage of the proceedings for the parties to litigate this case while the JPML


2
    See In re Crop Inputs Antitrust Litig. MDL No. 2993, Dkt. 2 (Feb. 24, 2021).


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proceedings are pending and transfer to a jurisdiction other than Idaho is likely. This limited,

temporary stay is proposed not for the purpose of delay but rather to permit efficiencies between

this case and the Related Actions that will likely be subject to consolidation into an MDL.

       WHEREFORE, for all the foregoing reasons, the Parties jointly request that the Court enter

an order staying this action pending a decision from the JPML.

Dated: April 9, 2021                         Respectfully submitted,

FISHER HUDSON SHALLAT                                RACINE OLSON PLLP

By: /s/ Vaughn Fisher                                By: /s/ Scott J. Smith
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    and                                              Inc.

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    Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 9, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:

       Jennifer J. Hanway
       jennifer@fisherhudson.com
       Plaintiffs’ attorney

       Vaughn Fisher
       vaughn@fisherhudson.com
       Plaintiffs’ attorney

       AND I FURTHER CERTIFY that on such date I served the foregoing on the following

non-CM/ECF Registered Participants via first class mail, postage prepaid addressed as follows:

       Syngenta Corporation
       c/o The Corporation Trust Company, registered agent
       Corporation Trust Center
       1209 Orange St.
       Wilmington, DE 19801

       Corteva Incorporated
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       Corporation Trust Center
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       BASF Corporation
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                                            /s/ Scott J. Smith

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